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age 1 of 47 PagelD 166

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4 | ds
REPUBLIC OF THE MARSHALL ISLANDS KOCPIA
c OFFICE OF THE REGISTRAR OF CORPORATIONS

       
   
   
  
   
  
   
  
     

 
 

Kndorsement Certificate

IN ACCORDANCE WITH THE PROVISIONS OF SECTION 1.5 OF THE
ASSOCIATIONS LAW. oF Fong REPUBLIC OF THE MARSHALL ISLANDS 1990

I CERTIFY that I have Et “FILED”: upon the Original Articles of Incorporation of

 
 

 

 

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being the date upon. which existe 6 of said corporation « CO

   
   

omg Bone
I FURTHER CERTIFY 1 that a Diiplicite’ or sai Articles. of 3 Ticbiporation has been Gl
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Given under my hand and seal on

this__.20th __ day of September
996

 

CF. aD pres, ar

Deputy Registrar of Corporations

  

 

 

 

 

 

~~ KOOPTA CI@EyrRet VORONIN
i : OHJA RINGAQNRAPRAKURATUUF
| f———_ HAUG KLINAPROKHROR

EXT-ROTKO-000159
Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 2 of 47 PagelD 167"
LE KOOPIA
ARTICLES OF INCORPORATION
OF

 

MERIMPEX CO. LTD.

INCORPORATED
IN
THE REPUBLIC OF THE MARSHALL ISLANDS
PURSUANT
TO
THE BUSINESS CORPORATION ACT

DUPLICATE COPY

The original of this document was filed in
accordance with Section 1.5 of the
Business Corporation Act on

‘ WON RESIDENT

September 20, 1996

 

Deputy Registrar

KOOPIA OF

REI YUHONIN
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RINGKUNHAPRUKIRAR

 

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 3 of 47 PagelD 168~

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ARTICLES OF INCORPORATION
OF
MERIMPEX CO. LTD,

PURSUANT TO THE MARSHALL ISLANDS BUSINESS CORPORATION AcT

The undersigned, for the purpose of forming a corporation
pursuant to the provisions of the Marshall Islands Business
Corporation Act, does hereby make, subscribe, acknowledge and
file with the Registrar of Corporations this instrument for that
purpose, as follows:

A. The name of the Corporation shall be:
MERIMPEX CO. LTD.

B, The purpose of the Corporation is to engage in any lawful
act or activity for which corporations may now or hereafter
be organized under the Marshall Islands Business Corporation
Act.

Cc. The registered address of the Corporation in the Marshall
Islands is R.R.E. Commercial Center, Delap Wing Suite 208,
P.O. Box 1405, Majuro, Marshall Islands MH96960. The name
of the Corporation's registered agent at such address is The
Trust Company of the Marshall Islands, Inc.

D. The aggregate number of shares of stock that the Corporation
is authorized to issue is Ten (10) registered and/or bearer
shares without par value.

The Corporation shall mail notices and information to
holders of bearer shares to the address provided to the
Corporation by the shareholder for that purpose.

The holder of a stock certificate issued to bearer may cause
such certificate to be exchanged for another certificate in
his name for a like number of shares, and the holder of
shares issued in the name of the owner may cause his
certificate to be exchanged for another certificate to
bearer for a like number of shares,

E.. The Corporation shall have every power which a corporation
now or hereafter organized under the Marshall Islands
Business Corporation Act may have.

 

EXT-ROTKO-000161
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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 4 of 47 PagelID 169

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F. The name and address of the incorporator is:
Name Post Office Address
Majuro Nominees Ltd. P.O. Box 1405
Majuro

Marshall Islands

G. The number of directors constituting the initial board of
directors is one (1), and he is:

Name Address
Mr. Aleksander Rotko Olevimagi 12
EE0001 Tallinn
Estonia
H. The Board of Directors as well as the shareholders of the

Corporation shall have the authority to adopt, amend or
repeal the by-laws of the Corporation.

i. Corporate existence shall begin upon filing these Articles
of Incorporation with the Registrar of Corporations as of
the filing date statea on these Articles.

IN WITNESS WHEREOF I have executed this instrument on
September 20, 1996.

Majuro Nominees Ltd.
Incorporator

  
 

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RINGKONNAPROKUBDR

EXT-ROTKO-000162
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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 5 of 47 PagelID 170_—
KOUPIA

On September 20, 1996 before me personally came Vicki Chase
to me known and known to me to be the individual described in and
who executed the foregoing instrument and who is authorized to
Sign on behalf of Majuro Nominees Ltd. and can act individually
for that corporation and she duly sex to me that the
execution thereof was her act a

 
 
 

 

 

  

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ANDRE! VORONIN
OHIA RINGKOMNAPROKUBATUUR
RINGKONBAPROKUROR

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 6 of 47 PageID 171

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MINUTES OF THE ORGANIZATIONAL weenie OPY

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KOOPIA
OF THE BOARD OF DIRECTORS

OF

“MERIMPEX Co. Ltd.”

The director held the Organizational meeting of

MERIMPEX Co. Ltd.

at (address): RRE. ae et oe “Wing Suite 208, P.O. Box 1405,

 

on (date): 25th September 1996 at (time): 11:00 AM

The meeting was called to order by Vicki Chase, who is authorized to sign on behalf
of Majuro Nomineis Ltd., which served as incorporator on its clients request for
MERIMPEX Co. Ltd. and is named in its Certificate of Incorporation. He submitted the
appropriate document, acknowleged before a notary, sertifying that the Jncorporator nor
the Registered Agent will not have any authority nor responsibility regarding said
corporation.

A motion was made, seconded and carried electing Vicki Chase as Chairman of the
meeting and Aleksander Rotko as Secretary thereof, These positions were mcented by the
respective persons, who proceeded to carry out their duties.

The following persons were present at the meeting:

Aleksander Rotko
Vicki Chase

EXT-ROTKO-000164
Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 7 of 47 PagelD 172%

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-Minutes: page a-

The secretary then submitted a proposed form of the corporate seal and upon motion, duly
made, seconded and carried, the following form was selected as the seal of corporation,
imprint of which has been affixed hereto:
MERIMPEX KFT
ns anor te

Adészam 10804499-9-
MKB: 2035-46003 ce

”

The Chairman then submitted a bill for services rendered by the Incorporator and the
Registered Agent and indicated said amount to be due and owing. On motion duly made,
seconded and carried the Treasurer of the corporation was directed to pay from the
corporate funds the total expenses of organizing the corporation, approval for payment
being given.

The following resolution was then duly made and carried:

RESOLVED: That the Treasurer is directed to open an account and deposit the funds
of the corporation with (name of bank):

Unibank A/S , Copenhagen , Denmark

All drafts, cheques and notes of the corporation, payable on said account, is hereby
directed to be made in the name of the corporation, and signed by any of the following
' individuals:

Aleksander Rotko

Furthermore, it is resolved that any and all resolutions required by the Bank to effect
the foregoing arrangement are hereby authorised and adopted as the actions of the Board
of Directors of the corporation.

Then it was decided that each Share Certificate of the corporation will represent ten
(10%) persent of the total stock of the Corporation, the total stock of the corporation

beimg (amount):
10.000 (ten thousand) US dollars

 

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 8 of 47 PagelD 1731¥

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-Minutes: page 3- KOOPIA

Upon motion, duly made, seconded and carried, the resolution was made that each
shareholder will contribute in the initial funds of the corporation in proportion of shares
held by him. The deadline for making such contributions was established on the 31 day of
December, 1998,

The following persons manifested their will to be and were accepted as Shareholders
of . the
Corporation with respective proportion of shares held:

NAME OF SHAREHOLDER —s- PERCENT OF THE No. of Share
STOCK (%) HELD Certificate
Aleksander Rotko 100 1-10

The Chairman then proposed to nominate Aleksander Rotko as a President and a
Secretary of the Corporation. On motion duly made, saconded and carried, the nomination
was done and approved.

The following resolution was then duly made and carried:
As it required by the business of the corporation and its mterests, the business office of
the corporation shall be located at address:

Olevimagi 12, EE0Q001, Tallinn, Estonia

There being no further business requiring Board Action or consideration, and on
motion duly made, seconded and carried, the meeting was adjourned.

  

Aleksander Rotko

KOOPIA GIGE

ANDRE} VORONIN
OBNJA RINGKONAAPROKURATUUR
RINGKONNAPROKUROR

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 9 of 47 PagelID 174

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 10 of 47 PageID 175

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 11 of 47 PagelD 176 —

 

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be mee y Registration Details 17 OKT. 1996
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MERIMPEY CO LIP. *OOPIA

Registered Title:

 

Registered Office: _#. oe. Cored. VUtA EL GA Contec,

Letep Wing Sterke AO, 40 boy
M05, Maytt¢0 Norrsfootll. vy kL bonols.
MH 96950

Changed to:

 

 

 

Certificate Number:

 

Certificate held at:

 

 

Incorporation Date: MOLL Seet erble 799 5

Seal held at:

 

 

Seal held at:

 

 

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RUGENNNAPRORHROR

 

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 12 of 47 PagelD 177

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Folio Ref _ KOOPIA
C S 7 Date of Membership2o“/.- Chebere 46 Date of Membership Termination
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Address 44-6, Sopteese psé. lat en, "Story g
y 7 o ,
Date of Acquisition Allotment Transfer No. of No. of Amounts Paid or Cl [
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Folio Ref .
Date of Membership Date of Membership Termination a
Name Occupation
Address

 

 

 

 

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or Transfer Number } No. Shares | Certificate | Considered as Paid | Share | of Payment | Acq

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 14 of 47 PagelD 179iy
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of
MERIMPEX CO LTD.

KOOPIA

Incorporated in the Republic of Marshall Islands

Filed in Reston, Virginia

September 20, 1996

ARTICLE I. OF FICE

e principle offic e Corporation in the Republic of M: Islan. all be
cated Commercial ter, Dela uite 208, P. 05
juro, Marsha 6960. ine. Corporatio such other office

 

O er siaredio fice of eCo ation to be nominated in eR lic of Marshall

ds be, but need not to be identical incipal office may be ed
from time to time by the Board of a
ARTICLE If. SHARE OLDERS
Section 1 Annual Meeting.

nual i e Shareholders may be held ere in the world and

 

EXT-ROTKO-000172
Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 15 of 47 PagelID 1800

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Bo | - KOOPIA
bylaws - page 2 -

ARTICLE ITE, BOARD OF DIRECTORS

Section 1 General Powers.

 

. President
Secretary
Treasurer

erson here in. ; s director and may ho

all officers, and this “person” may be an individual or a corporation. Ifit is a corporation,

then the corporate director will need to adopt a resolution to designate an individual to
its vote, a special meeting is called by the shareholders this offi th
rs are a tically renewed to year.

Section 2 Special Meetings.

s of the Board of Di e called eith
ublic arsha s by or re the Presid r two Director:

Section 3 Quorum.

A majority of the number of directors fixed by Section 2 of this Article OL shail

itute a rum for the transaction of business at ing at which a quo: is
eting of the Boa irectors.

Section 4 Manner of acting.

e act of the majori the Dir t_ at a meeting at which a rum? is

present shall be the act of the Board of Directors.

Section 5 Vacancies.

  

ea uorum of the Board Direct irectorship shall be b ection
at an Meeting or at a Spetial Meetin hareholders at ose

as,

EXT-ROTKO-000173
Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 16 of 47 PageID 18

bylaws - page 3 -

. Section 6 Jnformal action by Directors.

Any action required to be taken at a Meeting of Directors, ar any action which may be

at a meeting of Director be taken without a meeting if authorised e
President

ARTICLE IV. OFFICERS

Section 1 Number.

The officers of the Corporation shall be a President, a Secretary and a Treasurer,
cach eb ome shall be elected or appointed by the Board of Directors, Such other

 

o mo eT be tl erson.

Section 2_ President,

 

 

The President shall be the principal Executive orati d shall in general
supervise and control all of the business and affairs of the Corporation. He may sign
ificates for shares of the corporation, any d bon ts or other in ts
exept those which shall be required by law, by these Bylaws. or by the Board of Directors
therwise si or executed: and in een have authority to act on behalf of

the Corporation.

Section 3_Secretary.

és 2 ali:

(a) keep the Minutes of the Shareholders’ and of the Board of Directors’ Meeting in

one or more s’ books provided for that eS

o orate ds, i
c)_ ke i of the post office address of each sha Ider:
d) sign with the President or a Vice-President certificate e shar €
orporation. the issuance of which shall have been authorized by the Prezident and the
Secret: if combined the ident will sien twice: once as ident and once a
Secretary):
e) have gene ree of the Stock Tra 00 orporation: and
in general all duties incident to the office of Secreta

EXT-ROTKO-000174
Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 17 of 47 PagelD 182 w

bylaws - page 4 - KOOPIA

Section 4 Treasurer —

Shall:
a a cha d Ss t nd ber onsib e for all funds and securities of the
C ion: and for mo in ame of the Corporation in ~~

banks, trust companies or thes iepoaiorics as shall be selected in accordance with th

fthe Pr sand

 

ARTICLE V. CONTRACTS, LOANS, CHEQUES AND DEPOSITS

Section 1_Contracts.

The Board irectors may authorize any Officer or Agent o: o
ter into any contract or execute and deliver instrument in the name of and on beh
of the Corporation, an authority may be or confined to specific inst
Section 2_Loans.
] all be contracte! ehalf of the Corporation and no evidence o
indebtedness shall be issued in its name unless authorized by a resolution of the Board of
Directors.

Section 3_Cheques, Drafts, etc.

 

Section 4 Deposits.

All funds of the oration if not otherwise i e deposited time
to ti e credit of the Comoration in such banks, trmst c anies or other
depositorie e Board i rs may sel

EXT-ROTKO-000175
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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 18 of 47 PagelD 18314

KOOPIA
bylaws - page § -

ARTICLE VI. CERTIFICATES FOR SHARES; TRANSFERS

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or may not be represented by sertificat
lfn certificates, the eholders will be represented
not tion i the corporate records, si the President and the Secret
if tes are used, they shall be in form as shall be determin the
Board of Directors, Such certificates shall be signed by the President and the

' Secretary. Ifthe President also holds the office of Secretary, he shall sign twice,

once in each capacity.

ARTICLE VIL. FISCAL YEAR

The fiscal year of the Corporation shall begin on the first day of January and
end on the last day of December.

ARTICLE VIL. WAIVER OF NOTICE

Whenever an notice is re uired to b en to an areh or Direct

 

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ARTICLE IX. AMENDMENTS
Bylaws may be altered, am ealed and new Bylaws ma
b ard of Di rs or by the Shareholders at regular o

Special Meeting of the Board of Directors.
CERTIFICATION: I hereby certify that the foregoing Bylaws constitute the

ee CO. LTD. ee or — in as R ublic Marshall
d a

 

   

Aleksander Rotko

 

ANDREI YORONIN
OfHJA RINGA(HMAPHOKURATUUR
RINGKNNMAPRUKUROR

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 19 of 47 PagelD 184 wv

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ASUTUSESISESEKS KASUTAMISEKS
Teabevaldaja: Politsei- ja Piirivalveamet
Juurdepidsupiirangu alus: AVTS § 35 lg Ip 1, 12
Lépptahtpaev: 12.12.2092

POLITSEI- JA PIIRIVALVEAMET Vormistamise kuup#ev: 12.12.2017

ARATUNDMISEKS ESITAMISE PROTOKOLL
kriminaalasjas nr 06730000427

12.12.2017, Tallinn
Uurimistoimingu algus: 13.00

Politsei- ja Piirivalveameti Péhja prefektuuri kriminaalbiiroo raskete kuritegude talituse
juhtivuurija Siret Ratsepp, juhindudes KrMS §-dest 81, 82 ja 146, viis labi dratundmiseks
esitamise:
1. Objekt esitatakse dratundmiseks: Olga Novoseltsevale (ik 47203270350), kelle
isikusamasus on tuvastatud ID-kaart AA0432754 abil.
2. Uurimistoimingus osaleb: ei osale.
3. Kasutatud tehnikavahendid: ei kasutatud.
4. Vahemalt 14-aastast tunnistajat on hoiatatud, et iitluste andmisest seadusliku aluseta
keeldumise ja teadvalt vale titluse andmise eest jargneb vastutus KarS_§-de 318 ja 320

jargi.

   
  

5. Uurimistoimingus osaleb t6lk Kadi Kuusk, kes on KrMS § 161 ldike 6 kohaselt
kohustatud télkima kéik menetlustoimingusse puutuva t&pselt ja tdielikult ning hoidma
saladuses talle tdlkimisel teatavaks saanud andmeid. Teda on hoiatatud, et oma
filesannete tiitmisest alusetu keeldumise ja teadvalt valesti tdlkimise eest vastutab ta

KarS §-de 318 ja 321 jargi. lb

(igi allkini)

6. Aratundmiseks esitati: Aleksandr Rotko koos vahemalt kahe sellega sarnase objektiga:

a. Andres Albert

b. Igor Aleksejev
7. Objektide sarnasuse kirjeldus: keskealised tumedate juuste ja tumedate silmadega
meesterahvad.
Aratundmiseks esitatud objekt paiknes teiste objektide hulgas fototabelil.
Aratundmiseks esitatud isik valis oma asukohaks: nr 3.
Aratundjale on tehtud ettepanek vaadata talle esitatud objekti v6i objekte ja selgitada, kas
ta tunneb uuritava sitindmusega seotud objekti ara ning kas ta nendib selle sarnasust teiste
objektidega véi erinevust nendest. Aratundja selgitus:
Tunnen dra fotél nr 3 oleva meesterahva. Tema on Aleksandr Rotko nimeline isik, kelle
ettevdttes AS BPV Tallinnas Kiti tanaval tédtasin aastatel 2002 — 2006. Tunnen ta ara
ilmeksimatult, tema ninakuju, juuste, huulte jargi, sest ma tédtasin tema ettevittes pikalt.

 

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12. Uurimistoimingus osalejaile (valja arvatud kahtlustatavale) on selgitatud, et vastaval
KrMS § 214 véib kohtueelse menetluse andmeid avaldada tiksnes prokuratuuri loal ja

tema madratud ulatuses. Becanneccy
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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/ASUTDSBRSESREUKASHEAMISESS

Uurimistoimingu lépp:13.15

Siret Ratsepp

 
 
 

Olga Novoseltseva

Kadi Kuusk Mf.
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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 21 of 47 PagelD 186

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EXT-ROTKO-000179
  
  

Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 22 of 47 PageID 1870

FOR INTERNAL USE

Holder of information: Police and Border Guard Board

Basis of the restriction on access: § 35 clause | (1), (12) of the Public Information Act
The final date for application of the restriction on access: 12.12.2029

Date of notation: 12.12.2017

POLICE AND BORDER GUARD BOARD

PRESENTATION FOR IDENTIFICATION MINUTES
in criminal matter 06730000427

12.12.2017, Tallinn
Start of investigative activity: 13.00

Siret Ritsepp, Principal Investigator of the Serious Crime Office of the North Prefecture of the Police and
Border Guard Board, executed presentation for identification pursuant to § 81, 82 and 146 of the Code of
Criminal Procedure:

1, 1, Object presented for identification: to Olga Novoseltseva (personal identification code
47203270350) whose identity has been confirmed with ID card no AA0432754.

2. Participating in the investigative activity: no.

3. Technical equipment used: none.

4. The witness of at least fourteen years of age has been warned against refusal to give testimony without
a legal basis and giving knowingly false testimony is punishable according to § 318 and 320 of the
Penal Code.

(signature of the witness)

' §. Translator Kadi Kuusk is participating in the procedure and is under an obligation to translate any
aspect of procedural act precisely and completely and maintain the confidentiality of the information
which became known to her in the course of translation pursuant to § 161 (6) of the Code of Criminal
Procedure. She has been warned against refusal to fulfil her obligations without a legal basis and
wrongful translation is punishable according to § 318 and 321 of the Penal Code.

(signature of the translator)
6. Presented for identification: | Aleksandr Rotko together with at least two similar objects:
a. Andres Albert
b. Igor Aleksejev
7. Description of similarities of the objects: middle-aged males with dark hair and dark eyes.

The object presented for identification was positioned among the other objects on photo table.
The object presented for identification chose its position to be: no 3.

The identifier was presented with a proposition to look at the presented object or objects and exp
whether she recognizes the object related to the event and whether she establishes similarjtieepr Sa.
distinctions with other objects. Explanation of the identifier: Jo
I recognize the male on photo no 3. He is a person named Aleksandr Rotko in whose epi ee rs
BPV in Tallinn on Kiti street I worked during 2002 — 2006. I recognize him unmistakeab

nose, hair, lips because I worked in his company for a long time. <
10. Annexes to the minutes: none,

]. Notes to the minutes:

32 99

    
   
  

been translated by Unicom Translation Agency (Unicom Télkeabiiroo OU) and
riginal text in Estonian.

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(hand-written in Russian language)

12. The participants of the proceeding (except the suspect) have been explained that pursuant to § 214 of
the Code of Criminal Procedure, Information concerning pre-trial proceedings shall be disclosed only
with the permission of and to the extent specified by a prosecutor's office.

End of investigative activity: 13.15

Siret Ratsepp
Olga Novoseltseva

Kadi Kuusk

(hand-written):
cl. 11 translation: “the minutes have been prepared according to my words correctly and translated for
me into the Russian language. No additional notes."

(translator's stamp)

The translator Kadi Kuusk has been warned about liabilities pursuant to § 318 and § 321 of the Penal
Code.

PHOTO TABLE
POLICE AND BORDER GUARD BOARD

Photo 1.
Photo 2.
Photo 3.

Examined the photo table on December 12th 2017 (signatures)
Photo table was prepared on December 12th 2017 by Principal Investigator S. Riitsepp

13. ANDRES ALBERT35602135216
14. IGOR ALEKSEJEV35602020305
15. ALEKSANDR ROTKO34902270228

   
   
   
 

ABeARLUN

an Ba
ease ¥s been translated by Unicom Translation Agency (Unicom Télkeabiiroo OU) and

a gels s Mo . 8 original text in Estonian.

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1-07-10649
KOHTUMAARUS

Kohus Tallinna Ringkonnakohus, kriminaalkolleegium

Maaruse tegemise aeg ja koht 10, oktoober 2016. a, Tallinn

Kriminaalasja number 1-07-10649 (06730000427)

Kohtukoosseis eesistuja Sten Lind, liikmed Ivi Keskiila ja Urmas Reinola

Sekretir Elina Huobolainen

Vaidlustatud kohtulahend Harju Maakohtu 25. augusti 2007. a méaarus, millega
kohaldati tagaotsitavaks kuulutatud Olga Kotova suhtes
tékendina vahistamist

Kaebuse esitaja ja kaebuse liik kahtlustatava Olga Kotova (ik 47711285211) kaitsja
vandeadvokaat Janek Valdma, maaruskaebus

Kohtuistungil osalenud isikud ringkonnaprokurér Andrei Voronin, kaitsja Janek Valdma

RESOLUTSIOON
1. Jatta Harju Maakohtu 25. augusti 2007. a maarus muutmata.

2. Méaaruskaebus jatta rahuldamata.

Edasikaebamise kord
K4aesoleva maaruse peale vGib esitada advokaadi vahendusel maaruskaebuse Riigikohtule 10

p4eva jooksul alates maaruse teatavaks saamise paevale jargnevast paevast.

ASJAOLUD JA MENETLUSE KAIK

Vahistamistaotlus

1. P6hja Ringkonnaprokuratuuri ringkonnaprokurér Maria Sutt-Tehver esitas 24.08.2007
Harju Maakohtule taotluse Olga Kotova vahistamiseks. Prokurér markis, et O. Kotova on
kuulutatud Péhja Politseiprefektuuri 20.02.2007 méaarusega tagaotsitavaks ning pdhjendas
vahistamise vajalikkust sellega, et O. Kotova hoiab kriminaalmenetlusest k6rvale ja varjab enda
asukohta.

Taotluse kohaselt kahtlustatakse O. Kotovat KarS § 203 jargi selles, et tema, olles OU Agrin
Partion, AS Verest, AS~BPV juhatuse liige ning Ela Tolli AS néukogu liige, tihiselt ja
kooskdlastatult Aleksandr Rotkoga, kes on OU Agrin Partion, AS Verest ja AS BPV néukogu
liige ning Ela Tolli AS juhatuse liige, ajavahemikul 07.06.2006 kuni 01.08.2006 rikkusid ja
havitasid tahtlikult Eesti Vabariigi omandis olevaid ehitisi ja rajatisi asukohaga Kiiti 17 ja 17a
Tallinn, millega tekitasid Eesti Vabariigile olulist kahju.

Nimelt eemaldati Tallinnas Kiiti 17 ja 17a kinnistul asuvalt sadamakailt ilma omaniku Eesti
Vabariigi esindaja Justiitsministeeriumi loata Aleksandr Rotko korraldusel ja Olga Kotova

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teadmisel sadamakai olulised osad: teekatteplaadid suuruses 0,14x 2,00x 6,00 kokku 460 tk,
katteplaadid suuruses 0,13x1,23x1,6 kokku 164 tk ning suuruses 0,13x1,23x 0,94 kokku 35 tk. ©
Sellega tekitati Eesti Vabariigile kahju kokku 1 755 096,60 krooni;

Samuti eemaldati kinnistult ilma omaniku Eesti Vabariigi esindaja Justiitsministeeriumi loata
Aleksandr Rotko korraldusel ja Olga Kotova teadmisel kinnistu territooriumi varavad ja lohuti

need. Sellega tekitati Eesti Vabariigile kahju kokku 33 040 krooni.

Samuti kahtlustatakse O. Kotovat KarS 201 Ig 2 p 4 jargi selles, et tema, olles OU Agrin
Partion, AS Verest, AS BPV juhatuse liige ning Ela Tolli AS néukogu liige, thiselt ja
koosk6lastatult Aleksandr Rotkoga, kes on OU Agrin Partion, AS Verest ja AS BPV néukogu
liige ning Ela Tolli AS juhatuse liige:

— teostasid alates 2000. aastast kuni 01.08.2006 ebaseaduslikku valdust Eesti Vabariigile
kuuluval territooriumil Kiiti 17 ja 17a Tallinn. Ajavahemikul 07.06.2006 - 01.08.2006
eemaldati Aleksandr Rotko korraldusel ja Olga Kotova teadmisel ebaseaduslikult, st ilma
omaniku Eesti Vabariigi esindaja Justiitsministeeriumi loata, Tallinnas Kuti 17 ja 17a
asuvalt territooriumilt Eesti Vabariigile knulunud raudteerelsid kokku kaaluga 66,6 tonni.
Olga Kotova ja Aleksandr Rotko mijiisid 26.07.2006 ebaseaduslikult eemaldatud relsid
AS BPV nimelt AS-le Kuusakoski summas 204 328,80 krooni. Sellega pddrasid nad a
nende ebaseaduslikus valduses oleva vO6ra vallasasja, s.o Eesti Vabariigile kuulunud
raudteerelsid, ebaseaduslikult kolmanda isiku kasuks. Raudtee relsside miiigist sai
AS BPV tulu 204 328,80 krooni;

— korraldasid ajavahemikul 07.06.2006 - 01.08.2006 ebaseaduslikult, st ilma omaniku Eesti
Vabariigi esindaja Justiitsministeeriumi loata, Tallinnas Kuti 17 ja 17a asuvalt
territooriumilt, mille tile nad teostasid alates 2000. aastast kuni 01.08.2006
ebaseaduslikku valdust, katlamajast katla (kaaluga kuni 6,4 tonni ning maksumusega
vahemalt 13 120 krooni) eemaldamise ja omastasid selle, toimetades selle territooriumilt
minema ning omaniku kasutus- ja kasutusalast valja.

2. Harju Maakohus madras 25.08.2007 maarusega, et tagaotsitavaks kuulutatud Olga Kotova

tuleb tema tabamisel vahistada.

Kohtu hinnangul on kriminaalasjas on kogutud kiillaldaselt faktilist materjali, mille pohjal on

alust lugeda O. Kotovale esitatud kahtlustust pohjendatuks.

Kohus leidis, et kriminaalasja materjalidest nahtuvalt on O. Kotova kriminaalmenetlusest teadlik,

kuid sellele vaatamata on ta realiseerinud oma Eestis asuva vara ning ilmselt Eesti Vabariigist
lahkunud. O. Kotova ei ole reageerinud kutsetele ja on jatnud korduvalt menetleja juurde &
ilmumata. Eelnimetatud asjaolud andsid kohtule aluse arvata, et kahtlustatav véib ka edaspidi

jatkata kriminaalmenetlusest k6érvale hoidumist. Seetdttu leidis kohus, et tagaotsitava
kahtlustatava O. Kotova vahistamiseks esineb kiillaldane alus.

3. | Péhja Ringkonnaprokuratuuri ringkonnaprokurér Maria Sutt-Tehver andis 29.08.2007
valja Euroopa vahistamismaaruse O. Kotova vahi alla vétmiseks ja loovutamiseks Eesti
Vabariigile kriminaalmenetluse labiviimiseks v6éi vabaduskaotusliku  karistuse v6i
kinnipidamiskorralduse taitmiseks.

4. 0. Kotova peeti kahtlustatavana kinni 23.09.2016 kell 15.30 ja ta toimetati jargmisel
paeval kiisitlemiseks Harju Maakohtu eeluurimiskohtuniku juurde.
Maakohtus viitis O. Kotova kaitsja, et kahtlustatav ei olnud teadlik tema suhtes alustatud

kriminaalmenetlusest.

5. Harju Maakohus, kuulanud fra O. Kotova ja tema kaitsja, jattis vahistamismaaruse

muutmata. - ©
2

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a
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Kohus asus seisukohale, et O. Kotova suhtes esineb endiselt vahistamisalusena
@ kriminaalmenetlusest kérvalehoidumise oht. Kohus viitas asjaolule, et kahtlustatava alaline
elukoht asub Ameerika Uhendriikides. Kohus leidis, et maakohtu 25.08.2007 m@aruses on
pohjalikult analiiiisitud seda, et O. Kotova on varem kriminaalmenetlusest k6rvale hoidunud.

Eeltoodust tulenevalt luges kohus vahistamise diguspiraseks.

6. Harju Maakohtu 25.08.2007 maaruse peale esitas maaruskaebuse O. Kotova kaitsja Janek
Valdma, kes palub maakohtu miarus tiihistada ja kohaldada kahtlustatava suhtes elukohast
lahkumise keeldu.

6.1 Kaitsja méargib kaebuses, et O. Kotova vahistati pdhjusel, et ta hoidub
kriminaalmenetlusest k6rvale ning varjab enda asukohta. Selline eeldus pdhines jargnevatel
andmetel: O. Kotova elukoht oli 2007. a kevadel teadmata; O. Kotovale saadeti 19.12.2006
tahitud kirjaga kutse korraldusega ilmuda 28.12.2006 uurija juurde; kutse tagastati 22.01.2007
miarkega ,,ei asu antud aadressil“; teostati kontrollkaik Aleksandr Rotko ja O. Kotova viimasesse
teadaolevasse elukohta aadressil Kungla 4-44 Rakvere, kust saadi vastuseks, et nad ei ela seal.
Samuti on viidatud vahistamistaotluses sellele, et O. Kotova lahikondsetel paluti talle edasi
Gelda, et ta politseiga tihendust votaks.

e Kaitsja selgitab, et O. Kotova lahkus elama valismaale 2006. a detsembris, s.o enne kui ta sai
teada, et politsei teda otsib. Samuti puuduvad asjas andmed selle kohta, et O. Kotova oleks olnud
teadlik tema suhtes algatatud kriminaalmenetlusest. Kaitsja on esitanud kaebuse juurde
dokumendid, mis téendavad, et tagaotsitavaks kuulutamise ja vahi alla v6tmise otsustamise ajal
oli O. Kotova héivatud Sppetééga vialismaal. Eeltoodust tulenevalt leidis maakohus kaitsja
hinnangul ekslikult, et O. Kotova hoiab tahtlikult kriminaalmenetlusest kérvale.

6.2 Kaitsja margib, et kahtlustatava lahedased Iryna Talakh ja Rauno Kreemann on esitanud
kinnituskirja, milles nad kohustuvad tagama O. Kotovale piisiva elukoha ja vajadusel
elatusvahendid kogu kriminaalmenetiuse toimumise aja jooksul. Kaitsja palub vétta asja juurde
veel mitmeid dokumente, mis kinnitavad tema hinnangul seda, et O. Kotova on aus, tddkas ja
usaldusvaarne inimene, samuti piihendunud ja heade Sppetulemustega Spilane.

Eeltoodust tulenevalt leiab kaitsja, et O. Kotova suhtes on véimalik kohaldada eeluurimise ajaks
kergemaliigilist tékendit — elukohast lahkumise keeldu.

RINGKONNAKOHTU SEISUKOHT

7. Ringkonnakohus, vaadanud kriminaalasja materjalid ja esitatud maaruskaebuse labi ning

kuulanud ara menetluse pooled, leiab, et maaruskaebuse argumendid ei anna alust maakohtu
@ _ miiaruse tithistamiseks. |

8. | Madruskaebus pdhineb viitel, et O. Kotova ei olnud tema suhtes toimuvast
kriminaalmenetlusest teadlik. Ringkonnakohus leiab, et toimikus olevad tdendid liikkavad selle
vaite imber.

Vaidlus puudub selles, et O. Kotovale ei Gnnestunud katte toimetada kutset menetleja juurde.
Kriminaalasja materjalidest nahtub, et menetleja on piiidnud erinevaid kanaleid pidi
O. Kotovaga tihendust saada.

Asja materjalide hulgas olevast 19.02.2007 Giendist (kd I; toim.] 190) nahtub, et uurija helistas
alates 15.01.2007 korduviit O. Kotova telefonile numbril 56492932, kuid ei saanud kedagi katte.
12.02.2007 véttis telefoni vastu tundmatu vene keelt k6nelev mees, kes kuuldes, et helistatakse
politseist ja soovitakse réakida O. Kotovaga, katkestas kéne ning hiljem enam telefonile ei
vastanud,

Samuti piititi O. Kotovaga tihendust saada tema lahedaste kaudu. Viidatud diendi kohaselt
vestles Rakvere linna konstaabel 18.01.2007 O. Kotova ema NadeZda Kreemanniga. Viimane
kinnitas, et O. Kotova ega A. Rotko ei ela enam aadressil Kungla 4-44 Rakvere ning mélemad

e 3

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viibivad valjaspool Eestit. 01.02.2007 vestles uurija N. Kreemanni poja Rauno Kreemanniga, kes
vaitis, et O. Kotova viibib Venemaal. @
12.07.2007 diendist (kd I; toim.] 247) nahtub, et uurija helistas 23.05.2007 O. Kotova vennale
Aleksandr Kotovile numbrile 5187112. Viimane lubas O. Kotovaga tihendust votta ja paluda dde
politseiga kontakteeruda. Selleks edastas uurija A. Kotovile oma kontaktandmed (telefoni
numbri ja e-posti aadressi). A. Kotov vditis, et ta on ise Soomes t66l, kuid proovib leida
voimaluse dele info edasiandmiseks. Sama Giendi kohaselt helistas uurija 28.05.2007 ka
N, Kreemannile numbrile 56495403. Viimane vaitis, et O. Kotova saatis talle kill emadepaevaks
kaardi, kuid sellele ei olnud saatja aadressi margitud. N. Kreemann teadis ainult seda, et
O. Kotova soovis minna Venemaale disaini 6ppima, kuid tiitre taépset aadressi tal ei olnud.

Nagu niha, vaitsid O. Kotova lahedased, et neil ei ole sisuliselt kontakti O. Kotovaga ja nad ei
tea, kus O. Kotova viibib. 12.07.2007 jalitusprotokollist (kd I; toim.1 249 - 249 pddrdel) ilmneb
aga, et abonent 56492932 (omanik ja kasutaja O. Kotova) on perioodil 25.12.2007 — 30.12.2007
suhelnud igapievaselt abonentidega 56495403 (N. Kreemann), 56495503 (R. Kreemann) ja
5187112 (A. Kotov). S.t samalt abonentnumbrilt, millel piitidis uurija O. Kotovaga edutult
tihendust saada, suheldi hiljem aktiivselt O. Kotova sugulastega.

Seega suhtles O. Kotova jalitustoimiku kohaselt aktiivselt oma sugulastega, kellel oli palutud
anda talle edasi info, et O. Kotova suhtes toimub kriminaalmenetlus. Seega on alust arvata, et see &
info oli O. Kotovale teada. O. Kotova lahedaste kaitumine aga nditab, et O. Kotova hoidis
kriminaalmenetlusest k6rvale. Kuigi nad suhtlesid O. Kotovaga, vaitsid nad politseile, et ei tea
kahtlustatava tapset asukohta. Nimetatu viitab kohtu hinnangul kahele alternatiivsele
voimalusele: kas O. Kotova valetas sugulastele oma asukoha kohta (nt viites, et viibib
Venemaal) vdi lahedased kiill teadsid tema asukohta, kuid kokkuleppel O. Kotovaga esitati
politseile tema asukoha osas valeinfot.

K6ik eelnimetatud asjaolud kogumis viitavad sellele, et O. Kotova oli teadlik tema suhtes kaivast
kriminaalmenetlusest, kuid ta ei soovinud, et tema asukoht politseile teatavaks saaks.

Markida tuleb ka seda, et asja materjalide kohaselt on Olga Novoseltseva andnud 06.11.2012
tunnistajana tilekuulamisel titlusi (kd I; toim.] 299 - 302), millest naéhtub, et O. Novoseltseva
suhtles A. Rotkoga telefonis ja iitles viimasele, et ta kdis alustatud uurimisega seoses politseis
iitlusi andmas ning et politsei soovib réakida muuhulgas ka A. Rotkoga. Selle peale vastas
A. Rotko, et O. Novoseltseva ei pea muretsema.

Seega oli A. Rotko kriminaalmenetlusest teadlik. Kuna A. Rotko oli eelnimetatud ajal O. Kotova
abikaasa, siis ei pea ringkonnakohus usutavaks seda, et O. Kotova ei olnud tema tagaotsimisest
teadlik. Tahelepanu vaarib seegi, et A. Rotko kaitumismuster oli sarnane O. Kotova omaga: ta *
kill suhtles Eestis viibivate isikutega, kuid tegi seda nii, et neil ei olnud andmeid, kuidas
A. Rotkoga iihendust saada (tunnistaja O. Novoselskaja vaitel vottis A. Rotko temaga alati ise
tihendust, helistades lauatelefonil. O. Novoselskaja vaitel ei teadnud ta, kus A. Rotko viibib ja
kuidas temaga tihendust saada).

Veel peab ringkonnakohus oluliseks prokuréri kohtuistungil esitatud koopiat 01.12.2007
Verest AS, Agrin Partion OU ja BPV AS (Kostjad I, II ja II) poolt Harju Maakohtule esitatud
tiiendavatest taotlustest, mille allkirjastas 02.12.2007 digitaalselt O. Kotova.

Nimetatud dokumendi II punktis (Taotlused) on margitud jargmist: ,,Eesti Vabariik kasutab
praegu kdiki surve meetmeid, et kostjaid havitada ja valtida kohtuprotsessi Euroopa Ininrdiguste
Kohtus. Nimelt, Kriminaalpolitsei ahvardab kostjate endiseid tédtajaid ja sugulasi, teeb
I6pmatuid ilekuulamisi, arestitud on raamatupidaja sdiduauto, kostjate arved ja vara, esitatud
kunstlik hagi kasutuseeliste valjandudmiseks.“ Seega on O. Kotova selges6naliselt andnud teada,
et on teadlik toimuvast kriminaalmenetlusest ning sellest, et uurija on piiiidnud sugulaste kaudu
temaga tihendust saada.

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9. Eeltoodud asjaolusid kogumis arvesse véttes ndustub ringkonnakohus maakohtuga, et
S O. Kotova oli kriminaalmenetlusest teadlik, kuid hoidis sellest teadlikult korvale.

Ringkonnakohtu hinnangul suurendab kriminaalmenetlusest k6rvalehoidumise tdendosust
tésiasi, et O. Kotova on Ameerika Uhendriikide kodanik, kelle elukohaks on kahtlustatava
tilekuulamise protokolli kohaselt (kd II; toim.] 66 - 71) Ameerika Uhendriigid, s.o kahtlustatav ei
oma Eesti Vabariigis alalist elukohta. Maaruskaebusele lisatud téenditest nahtub, et O. Kotova ei
ole olnud enam aastaid Eestiga seotud — siin elavad kiill ta sugulased, kuid ta Gppis ja té6tas
valismaal ning praegu asub tema alaline elukoht Ameerika Uhendriikides. Seega viitavad
kriminaalasjas kogutud andmed sellele, et O. Kotoval on sidemed ja véimalus lahkuda taas Eesti
Vabariigist, et hoiduda kérvale SigusemGistmisest.

Asjaolu, et O. Kotovale on pakutud eeluurimise ajaks Eestis ajutist elukohta, ei valista tema
Eestist lahkumist. Samuti ei vilista kriminaalmenetlusest kérvalehoidumise ohtu O. Kotova head
Sppetulemused ega teda kiitvad iseloomustused.

Arvestades asjaolu, et O. Kotova on hoidnud aastaid kriminaalmenetlusest k6rvale ja tal on

olemas sidemed ning vdimalus lahkuda Eesti Vabariigist, siis esineb kohtukolleegiumi hinnangul

pohjendatud kahtlus, et O. Kotova vGib asuda taas kriminaalmenetlusest korvale hoiduma ning
a. hakata end vilisriigis varjama.

Eeltoodu pohjal leiab ringkonnakohus, et muud menetluse tagamise vahendid kui O. Kotova

vahistamine ei ole piisavad kriminaalmenetluse téhusa labiviimise tagamiseks, mistdttu tema

vahistamine on valtimatult vajalik.

10. Eelnevast lahtuvalt ning juhindudes KrMS § 337 Ig 1 p-st 1 ja §-st 390 jatab
ringkonnakohus vaidlustatud kohtumaaruse muutmata ja maaruskaebuse rahuldamata.

(allkirjastatud digitaalselt)

Sten Lind Ivi Keskila Urmas Reinola

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—_—
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DIGITAALALLKIRJADE KINNITUSLEHT

ALLKIRJASTAT UD FAILID
FAILI NIM FAILI SUURUS
| 1-07-10649 Olga Kotova vdoc 191 kB

ALLKIRJASTAJAD

nr. NIN ISIKUKOOD AEG
}1 | Sten Lind 37907230220 | 10.10.2016 13:21:26 +03:00 |

ALLKIRJAKEHTIVUS
LALLKIRION KEHTIV
ROLLIRESOLUTSIOON
ALLKIRJASTAJA ASUKOHT (LINN, MAAKOND, INDEKS, RIIK)
ALLKIRJASTAJASERTIFIKAAD! SEERIANUMBER

@¥8647222336681628359632123788014266584
SERTIFIKAADI VALJAANDJA NIMI _ VALJAANDJAVOTME IDENTIFIKAATOR
[ESTEID-sk 2011 [7B 6AF2 65 50 6C B8 D9 7A08 87 41 AE FAA2 2B 3D 5B 57 76

ALLKIRJASONUMILOHEND
30 31 30 OD 06 09 60 86 48 01 65 03 04 02 01 05 00 04 20 60 79 AE 24 63 09 83 4F 40 35 2F FB EO E5 D4 91 GA2F 61 GE CA

36 FO BA48 13 51 C3 E2 8E 44 E7

 

 

 

nr. NIM ISIKUKOOD AEG
{2 | Urmas Reinola | 35708066015 10.10.2016 13:23:34 +03:00 |

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enn ASUKOHT (LINN, MAAKOND, INDEKS, RIIK)

EXT-ROTKO-000187
 

Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 30 of 47 PagelD 195 Vl

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Case 3:19-mc-00027-BJD-JRK Document 1-4 Filed 11/19/19 Page 31 of 47 PagelD 1969,

1-07-10649
COURT RULING
The court Tallinn Circuit Court, Criminal Chamber

The time and place of the court ruling 10.10.2016, Tallinn
Number of the criminal matter 1-07-10649 (06730000427)

Panel Presiding judge Sten Lind, members Ivi Keskilla and Urmas

Reinola

Secretary Elina Huobolainen

Contested court ruling Ruling of Harju County Court of August 25, 2007, to impose a
preventive custody of Olga Kotova who has been declared
fugitive

The complainant and the type of complaint Appeal against court ruling filed by the sworn
advocate Janek Valdma acting as a defense counsel for the
suspect Olga Kotova (ID code 47711285211)

Persons present at the court session district prosecutor Andrei Voronin, defence counsel Janek
Valdma

RESOLUTION
1. To leave the ruling of Harju County Court on August 25, 2007, unchanged

2. To dismiss the appeal against the court ruling.

Appeal procedure

An appeal against this ruling may be submitted to the Supreme Court through a lawyer within ten
(10) days from the day following the day of notification of the ruling.

FACTS AND PROCEEDINGS

The arrest warrant

 

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fe Original text in Estonian.

EXT-ROTKO-000189

 
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4. District Attorney General of the Northern District Prosecutor Maria Sutt-Tehver submitted an
application to Harju County Court on August 24, 2007, to arrest Olga Kotova. The prosecutor noted
that Olga Kotova was declared a fugitive by the ruling of North Police Prefecture on February 20,
2007, and justified the need for arrest by the fact that Kotova absconds the criminal proceedings and
conceals her whereabouts.

According to the request, O.Kotova is suspected according to § 203 of the Penal Code of the fact that
her, being a member of the management board of OU Agrin Partion, AS Verest, AS BPV anda
member of the supervisory board of Ela Tolli AS, jointly and in concert with Aleksandr Rotko, who Is
the member of the management board of OU Agrin Partion, AS Verest and AS BPV and the member
of the supervisory board of Ela Tolli AS, during the period from 07.06.2006 to 01.08.2006,
intentionally damaged and destroyed the buildings and facilities in the ownership of the Republic of
Estonia located at Kiti 17 and Kiti 17a Tallinn, by which they caused material damage to the
Republic of Estonia.

Namely, on the order of Aleksandr Rotko and Olga Kotova, the following essential parts of the wharf
were removed from the wharf located in Tallinn, at KUti 17 and 17a, without the permission of the
Ministry of Justice, the representative of the owner, the Republic of Estonia: pavement plates in
the size 0.14x2.00x6.00 total 460 pcs, cover plates in the size 0.13x1.23x1.6 total 164 pcs and cover
plates in the size 0.13x1.23x0,94 in total 35 pcs; By this, they caused damage to the Republic of
Estonia in the total amount of 1,755,096.60 kroons;

Namely, on the order of Aleksandr Rotko and in the knowledge of Olga Kotova, gates of the territory
of the registered immovable were removed from the registered immovable and destroyed without
the permission of the Ministry of Justice, the representative of the owner, the Republic of Estonia. By
this, damage was caused to the Republic of Estonia in the total amount of 33 040 kroons;

According to § 201 (2) 4) of the Penal Code, O. Kotova Is also suspected of the fact that she, being a
member of the management board of OU Agrin Partion, AS Verest, AS BPV and a member of the
supervisory board of Ela Tolll AS, jointly and in concert with Aleksandr Rotko, who is the member of
the management board of OU Agrin Partion, AS Verest and AS BPV and the member of the
supervisory board of Ela Tolli AS:

- from 2000 until 1 August 2006, carried out unlawful possession on the territory at Kiiti 17
and 17a, Tallinn, belonging to the Republic of Estonia. During the period from 07.06.2006 to
01.08.2006, on the order of Aleksandr Rotko and in the knowledge of Olga Kotova, illegally without
the permission of the the Ministry of Justice, the representative of the owner, the Republic of

Estonia, 66.6 tons of railway tracks belonging to the aye of Estonia were removed in oe Ee

      

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- organized between July 7, 2006 and August 1, 2006 unlawfully, ie without the permission of
the Ministry of Justice, the representative of the owner, the Republic of Estonia from the territory
located in KOti 17 and 17a in Tallinn, over which they excercised illegal possession from 2000 until 1
August 2006, a removal of a boiler from the boilder house (weighing up to 6, 4 tons and costing at
least 13,120 kroons), and took possession of it by transferring it from the territory and out of the
owner's use and disposal area.

2: On August 25, 2007, the Harju County Court ruled that Olga Kotova who was declared
fugitive be arrested.

In the opinion of the court, enough factual material has been gathered in the criminal matter on the
basis of which there are grounds for considering the suspicion of O. Kotova to be well-founded.

The court found that, according to the materials of the criminal matter, O. Kotova is aware of the
criminal proceedings, but nevertheless, she has realized her property in Estonia and apparently left
the Republic of Estonia. O. Kotova has not responded to the summons and has repeatedly failed to
appear before the prosecutor. The aforementioned facts gave the court a reason to believe that the
Suspect may continue to abscond from criminal proceedings. Therefore, the court found that there is
an adequate ground for arresting the Suspect O.Kotova who has been declared fugitive.

3. On 29 August 2007, District Prosecutor of the Northern District Prosecutor's Office Maria
Sutt-Tehver issued a European arrest warrant for taking O.Kotova into custody and to surrender to
the Republic of Estonia for conducting a criminal proceeding or to execute a custodial sentence or
detention order.

4. Kotova was detained as a suspect on 23.09.2016 at 15.30 pm and was delivered the next day
for questioning to the preliminary investigating judge at the Harju County Court.

In the County Court, 0. Kotova's defense counsel argued that the suspect was not aware of the
criminal proceedings initiated against her.

5, Harju County Court, having heard O. Kotova and her defense counsel left the arrest warrant
unchanged.

   

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The court held that in case of O.Kotova there is still the risk of absconding from criminal procee REA

 
   

 

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6. An appeal was brought against the ruling of Harju County Court on 25.08.2007 by O.Kotova's
counsel Janek Valdma, who asks for the ruling of the county court to be annulled and to subject the
suspect to the prohibition on leaving the place of residence.

6.1 The defender notes in the appeal that O.Kotova was arrested on the grounds that she would
abscond from criminal proceedings and hide her location. This assumption was based on the
following data: Kotova's place of residence was unknown in spring 2007; O. Kotova was sent a
registered letter dated December 19, 2006, with an order to appear on 28.12.2006 at the
investigators office; the invitation was returned on January 22, 2007, with the indication “not located
at this address"; a verification visit was carried out at the last known residence of Aleksander Rotko
and O. Kotova at Kungla 4-44, Rakvere, from which a reply was received that they do not live there. It
has also been pointed out in the arrest warrant that O.Kotova's relatives were asked to tell her to
contact the police.

The defender explains that O Kotova left for a place of residence abroad in December 2006, that is
before she learned that the police were looking for her. Nor are there any indications that O.Kotova
would have been aware of the criminal proceedings initiated against her. To support the appeal, the
defense counsel has filed documents confirming that O. Kotova was engaged in studying abroad
when she was declared as a fugitive and when the decsion of taking her into custody was made.
Based on the foregoing, the County Court, in the view of the defense counsel, erroneously found that
O. Kotova deliberately absconded from criminal proceedings.

6.2 The defense counsel notes that close relatives of the suspect, Iryna Talakh and Rauno
Kreemann, have submitted a letter of confirmation in which they undertake to guarantee for O. The
defense counsel asks to include a number of documents to the matter to prove that O. Kotovaa
permanent residence and, if necessary, livelihood during the whole period of the criminal
proceedings.

Based on the foregoing, the defense counsel considers, that for the time of preliminary investigation
it is possible to subject O. Kotova to a lighter type of preventive measure - a prohibition on leaving
the place of residence.

THE POSITION OF THE CIRCUIT COURT

7. The Circuit Court, having reviewed the materials of the criminal matter and the submitted
the appeal against court ruling and heard the parties to the proceedings, finds that the arguments of
the appeal do not give rise to the annulment of the ruling of the County Court.

   
   

8. The appeal against court ruling is based on the allegation that O.Kotova was not awe fee Stier
criminal proceedings against her. The Circuit Court finds that the evidence in the file reje ase i
claim.

There is no dispute that it the attempt to serv O. Kotova with a summons to the investigator falta .

The materials of the criminal case show that the investigator has tried to contact O. Koto¥t throug A
different channels. hye. ¢

  

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It is evident from the note of April 19, 2007 (vol. I, file 190) that the investigator repeatedly called to
O. Kotov's telephone number 56492932 from January 15, 2007 but received no response.

On February 12, 2007, an unknown Russian-speaking man answered the phone, who, hearing that
the call was made from the police who wanted to talk to O. Kotova, cut off the call and later did not
answer the phone.

Police were also trying to contact O. Kotova through her relatives According to the note referred to,
on 18.01.2007, the constable of Rakvere city talked to O.Kotova's mother, Nadezhda Kreemann. The
latter confirmed that neither O. Kotova nor A. Rotko longer live at Kungla 4-44 in Rakvere and both
are outside Estonia. On February 01, 2007, the investigator talked to N. Kreemann’s son Rauno
Kreemann, who claimed that O.Kotova was staying in Russia,

It is evident from the note of July 12, 2007 (vol. |, file 247) that on May 23, 2007, the investigator
called O.Kotova's brother Aleksandr Kotov on the telephone number 5187112. The latter promised to
contact O.Kotova and ask her sister to contact the police. To this end, the investigator forwarded A.
Kotov his contact details (telephone number and e-mail address). A. Kotov said that he was working
in Finland, but he would try to find a way for conveying the information to the sister. According to
the same note, on May 28, 2007, the investigator called N. Kreemann’s telephone number 56495403.
The latter argued that O.Kotova sent her a card for Mother's Day, but the address of the sender was
not indicated on it. N. Kreemann knew only that O. Kotova wanted to go to Russia to study design,
but she did not have the exact address of her daughter.

As one can see, O. Kotova's relatives have argued that they do not have a substantive contact with O.
Kotova and they do not know where O. Kotova is staying. The surveillance record of 12.07.2007 (vol |,
file pp. 249) reveals that the subs Kotova) has contacted subscribers 56495403 (N. Kreemann),
56495503 (R. Kreemann) and 5187112 (A. Kotov). on a daily basis in the period from 25.12.2007 to
30.12.2007.criber 56492932 (the owner and user O. That means, the same subscriber number, on
which the investigator tried unsuccessfully contact O. Kotova, was later actively used for
communication with O. Kotova's relatives

Thus, according to the surveillance file, O. Kotova actively interacted with her relatives who had been
asked to give her information that O. Kotova was subjected to criminal proceedings. So there is a
reason to believe that this information was known to O. Kotova. However, the behavior of Kotov's
relatives shows that O. Kotova absconded from criminal proceedings. Although they interacted with
O.Kotova, they toldd the police that they did not know the exact location of the suspect. According to
the court, the abovementioned suggests two alternative possibilities: whether O.Kotova lied to her
relatives about her whereabouts (for example, claiming to be staying in Russia) or her relatives knew
her whereabouts, but, in agreement with O. Kotova, provided false information to the police about
her location.

  

All of the aforementioned circumstances indicate that O.Kotova was aware ofthe criminal asses
proceedings against her, but did not want the police to learn about her location. q

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to the police in connection with the investigation that had been started and that the police would
like to speak, among other things, with A. Rotko. To this, A. Rotko replied that O. Novoseltseva did
not have to worry.

Thus, A. Rotko was aware of the criminal proceedings. Since A. Rotko was the spouse of O.Kotova
during the aforementioned period, the District Court does not consider it credible that O. Kotova was
not aware of her being declared fugitive. It is also worth noting that A. Rotko's behavior pattern was
similar to that of O. Kotova: —_ although he interacted with the people in Estonia but did so without
that, they had no information on how to contact A. Rotko (witness O. Novoselskaja claimed that A.
Rotko always contacted her by calling the landline phone. O. Novoselskaja said that she did not know
where A. Rotko was staying and how to contact him).

In addition, the Circuit Court attaches great importance to a copy of the additional request submitted
by Verest AS, Agrin Partion OU and BPV AS (Defendants |, II and Ill) to the Harju County Court on
December 1, 2007, signed by O. Kotova on 2 December 2007 digitally presented to the court by the
prosecutor.

Point I (requests) of that document states the following: "The Republic of Estonia is currently
using all the coercive measures to eliminate defendants and avoid trial at the European Court of
Human Rights. Namely, the Criminal Police threatens the defendants’ former employees and
relatives, performs infinite hearings, the accountant's car and defendants’ accounts and property
have been arrested, an artificial claim has been submitted for reclaiming the advantages of use.”
Thus, O.Kotova has explicitly stated that she is aware of the ongoing criminal proceedings and the
fact that the investigator has tried to contact her through relatives.

9. in view of the above circumstances, the Circuit Court agrees with the County Court that O.
Kotova was aware of the criminal proceeding but deliberately absconded from it.

According to the circuit court, the probability of absconding from criminal proceedings is increased
by the fact that O.Kotova is a United States citizen domiciled in the United States under the suspect
interrogation protocol (vol tl; file pp 66-71), i.e., the suspect does not have a permanent residence in
the Republic of Estonia. Evidence attached to the appeal against the ruling shows that O. Kotova has
not been involved with Estonia for many years - her relatives live here, but she studied and worked
abroad and currently has her permanent residence in the United States. Thus, the data collected in
the criminal matter indicate that O.Kotova has ties and the possibility to leave the Republic of Estonia
again in order to avoid justice.

The fact that O. Kotova was offered temporary residence in Estonia during the preliminary

investigation does not exclude her leaving Estonia. Also, the risk of absconding from criminal
proceedings is not excluded by O. Kotova's good academic results and the positive characteristics
regarding her.

 
    
  

Considering the fact that O.Kotova absconded from criminal proceedings for years and has ti ob
2 possibllity to leave the Republic of Estonia, according to the judicial panel, there is a reasou

“ty

. Kotova may again abscond from criminal proceedings and start hiding in a forgign

   

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Based on the foregoing, the Circuit Court finds that other means of ensuring the proceedings, other
than O.Kotova's arrest, are not sufficient to ensure the effective conduct of criminal proceedings,
which is why her arrest is indispensable.

10. Based on the foregoing and in accordance with § 337 (1) 1) and 390 (3) of the Code of
Criminal Procedure, the Circuit Court shall leave the appealed ruling unchanged and dismisses the
appeal against the court ruling.

(signed digitally)

Sten Lind ivi Keskilla Urmas Reinola

DIGITAL SIGNATURE CONFIRMATION SHEET

E-SIGNED FILES
FILE NAME FILE SIZE
11-07-10649 Olga Kotova v.doc 191 K8

SIGNATORIES

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VALIDITY OF SIGNATURE
SIGNATURE IS VALID

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SERIAL NUMBER OF THE CERTIFICATE OF THE SIGNATORY
48647222336681628359632123788014266584

NAME OF THE ISSUER OF THE CERTIFICATE ISSUER’S KEY IDENTIFICATION
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ABBREVIATION OF SIGNATURE MESSAGE

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no. NAME ID-CODE TIME
2. Urmas Reinola 135709066015 10.10.201613:11:34 PM +03:00

VALIDITY OF SIGNATURE

SIGNATURE IS VALID

ROLE/RESOLUTION

LOCATION OF THE SIGNATORY (CITY, COUNTY, INDEX, COUNTRY)
SERIAL NUMBER OF THE CERTIFICATE OF THE SIGNATORY

131894266621464344753344150447897505243

NAME OF THE ISSUER OF THE CERTIFICATE . ISSUER’S KEY IDENTIFICATION
ESTEID-SK 2011 178 6AF2 55 50 SC 88 D9 7A08 87 41 AE FAA2 28 3D S8 57 76

ABBREVIATION OF SIGNATURE MESSAGE

 
   
 

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VALIDITY OF SIGNATURE

SIGNATURE IS VALID
ROLE/RESOLUTION

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SERIAL NUMBER OF THE CERTIFICATE OF THE SIGNATORY
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NAME OF THE ISSUER OF THE CERTIFICATE ISSUER’S KEY IDENTIFICATION
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ABBREVIATION OF SIGNATURE MESSAGE

30 31 30 OD 06 09 60 86 48 01 65 03 04 02 01 05 00 04 20 80 OF 1AB0 68 BB A2 77 CE 02 DB 2E 73
7AE3 BC 01 77 AD AO 57

28 C3 BC 88 03 F6 SF 73 FC 89 68

An integral part of this confirmation sheet is the presentation of the files listed in the section "Signed
Files" on paper.

NOTES

EXT-ROTKO-000197

 
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<S7—\  PROKURATUUR

BA

Ameerika Uhendriikide padev digusasutus Teie:
Meie: 23.10.2019 nr PRP-6/19/6783

Vastus
seoses Eesti Vabariigi Prokuratuurile
esitatud jareleparimisega

I. Asjaolud ja menetluse kaik

12.11.2012.a esitas Pohja Ringkonnaprokuratuuri vanemprokurér Maria Entsik kriminaalasja
nr 06730000427 raames Ameerika Uhendriikide padevale digusasutusele valjaandmistaotluse
Aleksandr Rotko suhtes. Taotlus esitati tuginedes 08.02.2006.a allkirjastatud Eesti Vabariigi
valistuse ja Ameerika Uhendriikide valitsuse vahel valjaandmislepingule.

Taotluse kohaselt paluti Ameerika Uhendriikidel anda Eesti Vabariigile valja Aleksandr Rotko
(isikukood 34902270228, siindinud 27.02.1949.a Ukrainas).

18.10.2019.a. esitati Ameerika Uhendriigi padeva digusasutuse poolt seoses Aleksandr Rotko
valjaandmismenetlusega aruparimine, mille sisu on kokkuvotvalt jargmine:

- palutakse selgitada, kas Aleksandr Rotko siiiidistus on veel aktuaalne ning kas Eesti Vabariik
on loobunud tema vastu esitatud kriminaalsiiiidistusest 2016. aastal;

- palutakse esitada asjakohaste karistusdiguslike normide tolked (Karistusseadustiku §-d 201 ja
203);

- palutakse selgitusi selle kohta, et kuna Aleksandr Rotko vaitel on kriminaalmenetlus Olga
Kotova suhtes l6petatud, siis kas ja kuidas mGjutab see Aleksandr Rotko siiiidistusasja.

I] Prokurori selgitused

Mina, Andrei Voronin, olen Eesti Vabariigi kodanik ja olen alates 20.08.1990.a olnud prokurér
Eesti Vabariigis. Minu ametitilesanneteks on juhtida kohtueelset kriminaalmenetlust, tagades
selle seaduslikkuse ja tulemuslikkuse, ning esindada kohtus riiklikku siitidistust isikute vastu,
kes on toime pannud kuriteo Eesti Vabariigi seaduste kohaselt. Vanemprokurér Maria Entsik’u
ametisuhe on peatatud ajutiselt seoses lapsehoolduspuhkusega, kuid k6iki kriminaalmenetluse
lilesandeid teostavad kuni juhtumi lahendamiseni Pohja Ringkonnaprokuratuuri prokurérid,
kaesoleval momendil — mina, Andrei Voronin.

Ringkonnaprokurérina olen mina oma tddiilesannetega seoses tutvunud kriminaalasja nr
06730000427 materjalidega, mille raames on kogutud téendid ja milles kahtlustatakse
Aleksandr Rotko’d (isikukood 34902270228) selles, et tema koos koos Olga Kotova’ga
(isikukood 47711285211) rikkusid ja havitasid tahtlikult Eesti Vabariigi omandis olevaid ehitisi
ja rajatisi Tallinnas Kiiti 17 ja 17a territooriumil, millega tekitasid Eesti Vabariigile olulist
varalist kahju summas 1 988260 Eesti krooni. Kriminaalasi on kohtueelse menetluse

POHJA RINGKONNAPROKURATUUR
Lubja 4 / 10115 TALLINN / 694 4200 / info.pohja@prokuratuur.ee / www.prokuratuur.ee
Registrikood 70000906

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staadiumis. Aleksandr Rotko on asunud kriminaalmenetlusest kérvale hoiduma ning lahkus
Eesti Vabariigist.

Vastavalt KrMS § 457 lg 3 koostab valisriigile esitatava taotluse isiku valjaandmiseks
kohtueelses menetluses prokuratuur.

Kasitletav valjaandmistaotlus on esitatud Ameerika Uhendriikidele palvega anda valja Eesti
Vabariigile kahtlustatav Aleksandr Rotko eesmargiga esitada talle stiiidistus Eesti Vabariigi
karistusseadustiku § 201 lg 2 p 4 ja § 203 jargi ning saata Aleksandr Rotko kohtu alla vastutust
kandma tema poolt toime pandud kuritegude eest.

Kriminaalmenetluse lépetamine Olga Kotova suhtes

08.08.2016.a peeti rahvusvaheliselt tagaotsitavana kinni Olga Kotova.

06.10.2016.a kahtlustatavana tilekuulamisel andis Olga Kotova iitlusi, millest tulenevalt oli
tema Aritihingutes OU Agrin Partion (iriregistri kood 10259785, registrist_ kustutatud
31.07.2013), AS Verest (Ariregistri kood 10381687, registrist kustutatud 13.09.2010) ja AS
BPV (&riregistri kood 10379236, registrist kustutatud 01.07.201 1), juhatuse liige ning Ela Tolli
AS-s (riregistri kood 10712954, registrist kustutatud 21.03.2016) ndukogu liige. Aleksandr
Rotko oli AS Verest (kustutatud) ja AS BPV eee at ndukogu liige ning Ela Tolli AS
(kustutatud) juhatuse liige. Lisaks oli Aleksandr Rotko OU Ella Kaubanduse (ariregistri kood
10448316, registrist kustutatud 14.08.2012) juhatuse ainuliige ja ainuosanik, milline ettevdte
oli omakorda Olga Kotova jJuhitud OU Agrin Partion (kustutatud) ainuosanik. Tema faktilised
tilesanded oli sekretari t66. Aritihingute juhtimist ja praktilise tegevuse suunamist teostas
Aleksandr Rotko, kelle palvel kirjutas Olga Kotova alla dokumentidele ning arvetele.
Nimetatud asjaolude suhtes on t6endid Ameerika Uhendriikide padevale Sigusasutusele Eesti
prokuratuuri poolt esitatud 12.12.2017.a vastusega nr 10/17/7303.

Kriminaalmenetluse seadustiku § 202 lg 1 alusel vdib prokuratuur taotleda kohtult
kriminaalmenetluse ]épetamist konkreetse isiku suhtes juhul, kui tema personaalne siiii ei ole
suur ja tema on asunud heastama kuriteoga tekitatud kahju. Juhul kui tegemist on teise astme
kuriteoga Karistusseadustiku § 4 lg 3 tahenduses, véib menetluse lépetada oma maarusega
prokuratuur.

Kriminaalasjas kogutud t6endite pinnalt oli Olga Kotova mitmete aritihingute nominaalne juht.
Sisulisi otsuseid vttis vastu Aleksandr Rotko, kes oli samuti AS Verest (kustutatud) ja AS BPV
(kustutatud) ndukogu liige ning Ela Tolli AS (kustutatud) juhatuse liige. Lisaks oli Aleksandr
Rotko OU Ella Kaubanduse (kustutatud) juhatuse ainuliige ja ainuosanik, milline ettevdte oli
omakorda Olga Kotova juhitud OU Agrin Partion (kustutatud) ainuosanik. Teisisénu,
Aleksandr Rotko oli ametiisik, kes kannab vastutust ariilhingute tegevuse eest. Faktiliselt oli

Olga Kotova Aleksandr Rotko sekretar ning temaga lahedases suhtes olev isik.

VGttes arvesse Olga Kotova reaalset positsiooni ja teisi kriminaalasja asjaolusid, eeskatt tema
iiksikasjalikke iitlusi Aleksandr Rotko poolt toimepandud kuritegude kohta, otsustasin sdlmida
Olga Kotova ja tema kaitsjaga kokkuleppe  kriminaalmenetluse l6petamiseks
Kriminaalmenetluse seadustiku § 202 alusel. Kokkuleppe esemeks on prokuratuuri poolt Olga
Kotova suhtes kriminaalmenetluse lSpetamine mitterehabiliteeritavatel alustel ning Olga
Kotova poolt riigi tuludesse kindla summa 32000 eurot tasumine. Vastavalt saavutatud
kokkuleppele eraldas prokuratuur oma maarusega Olga Kotova siitidistusasja eraldi menetlusse
(uude toimikusse), mille number on 16230104830, ning [dpetas 08.12.2016.a maarusega
kriminaalmenetluse tiksnes Olga Kotova suhtes.

Kriminaalmenetlust asjas nr 06730000427 Aleksandr Rotko suhtes jatkati iildistel alustel.
Vastavalt Karistusseadustiku §-le 8] jubul, kui kahtlustatav véi siiiidistatay hoidub
Kriminaalmenetlusest kérvale, saabub teise astme kuriteo toimepanemise puhul
kriminaalvastutusele vétmise tahtaeg siis, kui kuriteo toimepanemisest on méddunud
viisteist aastat. Lahtudes viimase kuriteoepisoodi toimepanemise ajast, saabub Aleksandr
Rotko puhul see tahtpaev 06.09.2021. aastal. Selle ajani on véimalik Aleksandr Rotko

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siitidistamine ja kohtu poolt karistamine.

Karistusseadustiku § 201 ja 203 ametlikud tdlked

§ 201. Omastamine

(1) Valduses oleva v66ra vallasasja vGi isikule usaldatud muu vé6ra vara ebaseaduslikult
enda voi kolmanda isiku kasuks pédramise eest —
karistatakse rahalise karistuse v6i kuni tiheaastase vangistusega.

(2) Sama teo eest, kui see on toime pandud:

1) isiku poolt, kes on varem toime pannud varguse, réévimise, omastamise, siiiiteo
toimepanemise tulemusena saadud vara omandamise, hoidmise vdi turustamise, asja tahtliku
rikkumise v6i havitamise, kelmuse véi valjapressimise;

2) suures ulatuses;

3) amettisiku poolt véi
4) grupi poolt, —
karistatakse rahalise karistuse v6i kuni viieaastase vangistusega.

[RT I, 12.07.2014, 1 - joust. 01.01.2015]

(3) Kaesoleva paragrahvi ldikes 1 v6i 2 satestatud teo eest, kui selle on toime pannud
juriidiline isik, —
karistatakse rahalise karistusega.

[RT I, 12.07.2014, 1 - jdust. 01.01.2015]

(4) Kohus voib kohaldada kaesoleva paragrahvi ldike 2 punktides 2 ja 3 satestatud kuriteo
eest kuriteoga saadud vara laiendatud konfiskeerimist vastavalt kaesoleva seadustiku §-s 83?
satestatule.

[RT I, 12.07.2014, | - jdust. 01.01.2015]

 

§ 203. Asja rikkumine ja havitamine

(1) Voora asja rikkumise v6i havitamise eest, kui sellega on tekitatud oluline kahju, —
karistatakse rahalise karistuse vdi kuni viieaastase vangistusega.

(2) Sama teo eest, kui selle on toime pannud juriidiline isik, —
karistatakse rahalise karistusega.

(RTL, 23.12.2014. 14 - joust. 01.01.2015]

Ill _Kokkuvote

Kinnitan, et KarS § 201 ja KarS § 203 (koos kdikide hilisemate redaktsioonidega) alusel on
Aleksandr Rotko kriminaalvastutusele vétmine véimalik.

Kinnitan, et minu parima teadmise kohaselt vastab kdik eeltoodu tdele. Aleksandr Rotko
siitidistusasi on seni aktuaalne ja prokuratuuri menetluses. Eelkirjeldatut silmas pidades, palun
Eesti Vabariigi nimel valja anda Aleksandr Rotko Eesti Vabariigile tema suhtes
kriminaalmenetluse labiviimiseks, siiiidistuse esitamiseks ja tema kohtu alla andmiseks.

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Olen teinud on parima, et esitada téendeid ja selgitusi valjaandmistaotluse rahuldamiseks.
Juhul, kui USA padevad ametiasutused vajavad tadiendavat inforatsiooni taotluse
lahendamiseks, kinnitan kogu lugupidamisega, et olen valmis esitama vajalikku
lisainformatsiooni enne otsuse langetamist.

Andrei Voronin ne
Ringkonnaprokuroér

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Translation from Estonian

PROKURATUUR

 

Competent judicial authority Yours:
of the United States of America
Ours: 23 October 2019 No. PRP-6/19/6783

Response
regarding the inquiry submitted
to the Prosecutor’s Office of the Republic of Estonia

I. Facts and proceedings

On 12 November 2012, Senior Prosecutor Maria Entsik of the Northern District Prosecutor’s
Office filed a request for the extradition of Aleksandr Rotko in the criminal matter No.
06730000427 to the competent judicial authority of the United States of America. The request
was made based on the Extradition Treaty between the Government of the Republic of Estonia
and the Government of the United States of America signed on 8 February 2006.

According to the request, the United States of America was asked to extradite Aleksandr Rotko
(personal identification code 34902270228, born on 27 February 1949 in Ukraine) to the
Republic of Estonia.

On 18 October 2019, an inquiry was made by the competent judicial authority of the United
States of America regarding the extradition proceedings against Aleksandr Rotko. In summary,
the inquiry contained the following:

- a request to provide clarifications as to whether the charges brought against Aleksandr Rotko

=r still leva and whether the Republic of Estonia has dropped the criminal charges against
im in 2016;

- a request to provide translations of the relevant criminal statutes (sections 201 and 203 of the

Penal Code);

- a request to provide clarifications regarding Aleksandr Rotko’s claims that the criminal

proceedings against Olga Kotova have been terminated, and as to whether and how would this

affect Aleksandr Rotko’s prosecution.

II Explanations of the Prosecutor

I, Andrei Voronin, am a citizen of the Republic of Estonia and a Prosecutom
Estonia since 20 August 1990. My function is to direct pre-trial criminal prd
the legality and efficiency thereof, and to represent public prosecution in court
who have committed a criminal offence under the laws of the Republic of Estonia=2hese
of Senior Prosecutor Maria Entsik have been temporarily suspended due to maternity leave, but
until the final resolution of the case, all duties relating to the criminal proceedings are being
performed by the Prosecutors of the Northern District Prosecutor’s Office; at the moment, that
is I, Andrei Voronin.

NORTHERN DISTRICT PROSECUTOR'S OFFICE

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Registry code 70000906 EXT-ROTKO-000202

  
   
     

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Translation from Estonian

In my duties as a District Prosecutor, I have examined the materials of the criminal matter No.
06730000427, in which evidence has been gathered and in which Aleksandr Rotko (personal
identification code 34902270228) is suspected of the fact that he, together with Olga Kotova
(personal identification code 47711285211), intentionally injured and destroyed buildings and
constructions belonging to the Republic of Estonia, located on the territory of Kiiti 17 and 17a,
Tallinn, causing significant proprietary damage to the Republic of Estonia in the amount of
1,988,260 Estonian kroons. The criminal matter is currently in the pre-trial phase. Aleksandr
Rotko has begun absconding from criminal proceedings and has left the Republic of Estonia.

Pursuant to subsection 457 (3) of the Code of Criminal Procedure, a request for the extradition
of a person to be submitted to a foreign state shall be prepared by the prosecutor’s office in a
pre-trial proceeding.

The extradition request in question has been submitted to the United States of America to
extradite the suspect Aleksandr Rotko to the Republic of Estonia for the purpose of charging
him under clause 201 (2) 4) and section 203 of the Penal Code of the Republic of Estonia and
bringing Aleksandr Rotko before a court to be held liable for the criminal offences committed

by him.

Termination of criminal proceedings against Olga Kotova

On 8 August 2016, Olga Kotova was detained as an international fugitive.

During her interrogation as a suspect on 6 October 2016, Olga Kotova gave testimony according
to which she was a member of the management board of the companies OU Agrin Partion
(commercial registry code 10259785, deleted from the register on 31 July 2013), AS Verest
(commercial registry code 10381687, deleted ftom the register on 13 September 2010) and AS
BPV (commercial registry code 10379236, deleted from the register on 1 July 2011), as well as
a member of the supervisory board of Ela Tolli AS (commercial registry code 10712954, deleted
from the register on 21 March 2016). Aleksandr Rotko was a member of the supervisory board
of AS Verest (deleted) and AS BPV (deleted) and a member of the management board of Ela
Tolli AS (deleted). In addition, Aleksandr Rotko was the sole member of the management board
and sole shareholder of the company OU Ella Kaubanduse (commercial registry code
10448316, deleted from the register on 14 August 2012) which was in turn the sole shareholder
of the company OU Agrin Partion (deleted) managed by Olga Kotova. Her factual duties were
that of a secretary. The management and directing of the practical operations of the companies
was carried out by Aleksandr Rotko, at whose request Olga Kotova signed documents and
invoices. Evidence regarding the said facts has been provided to the competent judicial
authority of the United States of America by the Prosecutor’s Office of the Republic of Estonia
in the response No. 10/17/7303 of 12 December 2017.

Pursuant to subsection 202 (1) of the Code of Criminal Procedure, the Prosecutor’s Office may
request the court to terminate criminal proceedings against a particular person if the guilt of the
person is negligible and if he or she has commenced to remedy the damage caused by the
criminal offence. In the case of a criminal offence in the second degree within the meaning of
subsection 4 (3) of the Penal Code, the proceedings may be terminated by 2 :
Prosecutor’s Office. 5

      
   
   

     
 

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Based on the evidence gathered in the criminal matter, Olga Kotova was the/fj

of a number of companies. The substantive decisions were made by Aleksan de Rotkeswne
also a member of the supervisory board of AS Verest (deleted) and AS BPW Glelazaya.
member of the management board of Ela Tolli AS (deleted). In addition, AlekSandr Rotko
the sole member of the management board and sole shareholder of the compaay.GU
Kaubanduse (deleted) which was in turn the sole shareholder of the company OU Agrin Partion
(deleted) managed by Olga Kotova. In other words, Aleksandr Rotko was the office-holder
responsible for the operations of the companies. Factually, Olga Kotova served as Aleksandr

Rotko’s secretary and was a person with whom he was in a close relationship.

    
  
   
  

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Translation from Estonian

Taking into account the actual position of Olga Kotova and other circumstances of the case, in
particular her detailed statements regarding the criminal offences committed by Aleksandr
Rotko, I decided to conclude an agreement with Olga Kotova and her defence counsel to
terminate the criminal proceedings under section 202 of the Code of Criminal Procedure. The
subject of the agreement was the termination of criminal proceedings against Olga Kotova by
the Prosecutor’s Office on non-rehabitable grounds and the payment of a fixed sum of 32,000
euros by Olga Kotova to the state revenues. In accordance with the agreement, the Prosecutor’s
Office, by its order, separated the case against Olga Kotova into a separate proceeding (new
criminal file), file No. 16230104830, and terminated the criminal proceedings by an order of
08 December 2016 solely with regard to Olga Kotova.

Criminal proceedings against Aleksandr Rotko in the criminal matter No. 06730000427
were continued on a general basis. Pursuant to section 81 of the Penal Code, if the suspect
or accused person absconds from criminal proceedings, the time limit for prosecuting this
person for the commission of a criminal offence in the second degree expires in fifteen
years after the commission of the said offence. Based on the time of the commission of the
last episode of crime, the said time limit in Aleksandr Rotko’s case would expire on 6
September 2021. Until then, Aleksandr Rotko can be prosecuted and tried by a court.

Official translations of sections 201 and 203 of the Danal Code

 

§ 201. Embezzlement

(1) Illegal converting into his or her use or the use of a third person of movable property

which is in the possession of another person or other assets belonging to another person which
have been entrusted to the person

is punishable by a pecuniary punishment or up to one year’s imprisonment.

(2) The same act, if committed:

1) by a person who has previously committed theft, robbery, embezzlement, acquisition,
storage or marketing of property received through commission of an offence, intentional
damaging or destruction of a thing, fraud or extortion;

2) on a large-scale basis;

3) by an official; or
4) by a group;
is punishable by a pecuniary punishment or up to five years’ imprisonment.

[RT I, 12.07.2014. 1 - entry into force 01.01.2015]

(3) An act provided for in subsection (1) or (2) of this section, if committed by a legal ‘person,
is punishable by a pecuniary punishment.
[RT I. 12.07.2014. 1 - entry into force 01.01.2015]

(4) For criminal offence provided for in clauses (2) 2) and 3) of this sectiongéfe
impose extended confiscation of assets or property acquired by the crimingf6tfe
to the provisions of § 83? of this Code. aero
[RT L. 12.07.2014. 1 - entry into force 01.01.2015] :

§ 203. Injuring or destruction of thing

 
    
   

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(1) Injuring or destroying a thing of another, if significant damage is thereby caused,
is punishable by a pecuniary punishment or up to five years’ imprisonment

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Translation from Estonian

(2) The same act, if committed by a legal person,
is punishable by a pecuniary punishment.
(RT I. 23.12.2014. 14 - entry into force 01.01.2015]

Ill Summary

I confirm that under sections 201 and 203 of the Penal Code (together with all the later wordings
thereof) it is possible to bring criminal charges against Aleksandr Rotko.

I confirm that, to the best of my knowledge, all of the information stated above is correct. The
case against Aleksandr Rotko is still relevant and under investigation by the Prosecutor’s
Office. In view of the above, I request on behalf of the Republic of Estonia to extradite
Aleksandr Rotko to the Republic of Estonia in order to continue with the criminal proceedings,
bring charges against him, and prosecute him in court.

I have done my best to provide evidence and clarifications to ensure that the request for
extradition is granted. In case the competent authorities of the United States of America require
additional information in order to resolve the request, I assure with all due zesperéthat I am
prepared to provide any necessary additional information before the makirigof?t Be

se

   

 

Andrei Voronin Dy Tt Le
District Prosecutor
MARTIN KALA

Pdhja Ri on
Agkonnaprok,

To on holatatud vastutsaet
ars § 318 ja § 321 jargi.

The translator Martin Kala is aware of the diligence and confidentiality obligation pursuant to subsection 161 (6)
of the Code of Criminal Procedure and the responsibility pursuant to sections 318 and 321 of the Penal Code. f fat n

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